Case 1:21-cr-00444-GLR Document1 Filed 11/10/21 Page 1 of 7

SEALED .

KOG/PMC:USAO#2020R00536

HEE 11/9/21 sna
1IN THE UNITED STATES DISTRICT COURT) 6) 29
FOR THE DISTRICT OF MARYLAND
UNITED STATES OF AMERICA

* T oT Be
¥ * CRIMINAL wot tAG ater Ud

(Tax Evasion, 26 U.S.C. § 7201; Willful
# Failure to File Tax Return, 26 U.S.C.

§ 7203)
MICHAEL L. MCDONALD,
UNDER SEAL
Defendant.
kkeeKKEKK
INDICTMENT
COUNT ONE

(Tax Evasion)
The Grand Jury for the District of Maryland charges:
During the calendar year 2016, in the District of Maryland and elsewhere,
MICHAEL L. MCDONALD

a resident of Baltimore, Maryland, had and received taxable income, upon which there was income
tax due and owing to the United States of America. Knowing the foregoing facts and failing to make
an income tax return on or before April 18, 2017, as required by law, to any proper officer of the
Internal Revenue Service, and to pay the income tax, MICHAEL L. MCDONALD, from in or about
February 2016 through in or about December 2016, willfully attempted to evade and defeat income
tax due and owing by him to the United States of America for calendar year 2016, by committing the

following affirmative acts, among others: submitting false W-4 forms.

26 U.S.C. § 7201
Case 1:21-cr-00444-GLR Document1 Filed 11/10/21 Page 2 of 7

COUNT TWO
(Failure to File Tax Return)
The Grand Jury for the District of Maryland further charges:
During the calendar year 2016, in the District of Maryland and elsewhere,
MICHAEL L. MCDONALD

a resident of Baltimore, Maryland, had and received gross income in excess of $4,050.
By reason of such gross income, MICHAEL L. MCDONALD was required by law, on or before
April 18, 2017, to make an income tax return to the Internal Revenue Service stating specifically the
items of his gross income and any deductions and credits to which he was entitled. Knowing and
believing all of the foregoing, MICHAEL L. MCDONALD did willfully fail, on or about April

17, 2017, to make an income tax return.

26 U.S.C. § 7203
Case 1:21-cr-00444-GLR Document1 Filed 11/10/21 Page 3 of 7

COUNT THREE
(Tax Evasion)

And the Grand Jury for the District of Maryland further charges:

During the calendar year 2017, in the District of Maryland and elsewhere,
MICHAEL L. MCDONALD
a resident of Baltimore, Maryland, had and received taxable income, upon which there was income
tax due and owing to the United States of America. Knowing the foregoing facts and failing to make
an income tax return on or before April 17, 2018, as required by law, to any proper officer of the
Internal Revenue Service, and to pay the income tax, MICHAEL L. MCDONALD, from in or about
February 2017 through in or about November 2017, willfully attempted to evade and defeat income
tax due and owing by him to the United States of America for calendar year 2017, by committing the

following affirmative acts, among others: submitting false W-4 forms.

26 U.S.C. § 7201
Case 1:21-cr-00444-GLR Document1 Filed 11/10/21 Page 4 of 7

COUNT FOUR
(Failure to File Tax Return)
The Grand Jury for the District of Maryland further charges:
During the calendar year 2017, in the District of Maryland and elsewhere,
MICHAEL L. MCDONALD

a resident of Baltimore, Maryland, had and received gross income in excess of $4,050. By reason
of such gross income, he was required by law, following the close of calendar year 2017, and on or
before April 17, 2018, to make an income tax return to the Internal Revenue Service, stating
specifically the items of his gross income and any deductions and credits to which he was entitled.
Knowing and believing all of the foregoing, MICHAEL L. MCDONALD did willfully fail, on or

about April 16, 2018, to make an income tax return.

26 U.S.C. § 7203
Case 1:21-cr-00444-GLR Document1 Filed 11/10/21 Page 5 of 7

COUNT FIVE
(Tax Evasion)

And the Grand Jury for the District of Maryland further charges:
During the calendar year 2018, in the District of Maryland and elsewhere,
MICHAEL L. MCDONALD

a resident of Baltimore, Maryland, had and received taxable income, upon which there was income
tax due and owing to the United States of America. Knowing the foregoing facts and failing to make
an income tax return on or before April 15, 2019, as required by law, to any proper officer of the
Internal Revenue Service, and to pay the income tax, MICHAEL L. MCDONALD, from in or about
February 2018 through in or about April, 2018, willfully attempted to evade and defeat income tax
due and owing by him to the United States of America for calendar year 2018, by committing the

following affirmative acts, among others: submitting false W-4 forms.

26 U.S.C. § 7201
Case 1:21-cr-00444-GLR Document1 Filed 11/10/21 Page 6 of 7

COUNT SIX
(Failure to File Tax Return)
The Grand Jury for the District of Maryland further charges:
During the calendar year 2018, in the District of Maryland and elsewhere,
MICHAEL L. MCDONALD

a resident of Baltimore, Maryland, had and received gross income in excess of $5. By reason of
such gross income, he was required by law, following the close of calendar year 2018, and on or
before April 15, 2019, to make an income tax return to the Internal Revenue Service, stating
specifically the items of his gross income and any deductions and credits to which he was entitled.
Knowing and believing all of the foregoing, MICHAEL L. MCDONALD did willfully fail, on or

about April 15, 2019, to make an income tax return.

26 U.S.C. § 7203
Case 1:21-cr-00444-GLR Document1 Filed 11/10/21 Page 7 of 7

COUNT SEVEN
(Failure to File Tax Return)
The Grand Jury for the District of Maryland further charges:
During the calendar year 2019, in the District of Maryland and elsewhere,
MICHAEL L. MCDONALD
a resident of Baltimore, Maryland, had and received gross income in excess of $5. By reason of
such gross income, he was required by law, following the close of calendar year 2019, and on or
SuULY /S,

before 2020, to make an income tax return to the Internal Revenue Service, stating
specifically the items of his gross income and any deductions and credits to which he was entitled.

Knowing and believing all of the foregoing, MICHAEL L. MCDONALD did willfully fail, on or

about April 15, 2020, to make an income tax return.

26 U.S.C. § 7203

 
     

Erek L. Batron’
United States Attorney

ATRUEBILLY =
SIGNATURE REDACTED

rorenosyy |
O

0

Dat
